        Case 2:19-cv-00513-GEKP Document 239 Filed 10/13/21 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PENN ENGINEERING &                              :       CIVIL ACTION
MANUFACTURING CORP.                             :
          Plaintiff,                            :
                                                :
        v.                                      :       No.: 19-cv-513
                                                :
PENINSULA COMPONENTS, INC.,                     :
          Defendant.                            :


                                              ORDER

        AND NOW, this        13TH     day of October, 2021, upon consideration of Defendant’s

Motion to Enforce and for Sanctions (ECF No. 231), Plaintiff’s response thereto (ECF No. 234)

and Defendant’s reply in support (ECF No. 236), and for the reasons set forth in the

memorandum filed concurrently with this Order, IT IS HEREBY ORDERED that Defendant’s

motion is GRANTED as follows:

        1.      Within three days, Plaintiff shall provide Defendant with either a signed

certification that the only document it has withheld regarding any policies and practices with

respect to Plaintiff’s distributors that sell Plaintiff’s products to Plaintiff’s competitors is the

internal email chain referenced in the Court’s August 12, 2021, Memorandum or, if that is not

the case, a privilege log cataloguing all withheld documents with sufficient information for

Defendant to confirm the applicability of the protection invoked.

        2.      Within three days, Plaintiff shall produce all information about quality-based

returns by Plaintiff’s distributors of the fastener products at issue over the last ten years, to the

extent not already produced.

        3.      Defendant’s expert rebuttal report deadline shall be due one week after Plaintiff

produces this information or on October 15, 2021, whichever is later.
        Case 2:19-cv-00513-GEKP Document 239 Filed 10/13/21 Page 2 of 2



       4.      After Plaintiff has provided the information described in Paragraph 2, Defendant

may depose Plaintiff’s expert, Carmen Vertullo, limited to the information in the supplemental

production.

       5.      Within 10 days, Plaintiff shall pay Defendant $5,000 as reasonable attorneys’ fees

and costs in filing the motion.



                                                    BY THE COURT:


                                                    _/s/ Lynne A. Sitarski__________
                                                    LYNNE A. SITARSKI
                                                    United States Magistrate Judge




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